

People v Smith (2022 NY Slip Op 05931)





People v Smith


2022 NY Slip Op 05931


Decided on October 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 20, 2022

Before: Gische, J.P., Kern, Gesmer, Scarpulla, Rodriguez, JJ.


Ind No. 2202/17 Appeal No. 16503 Case No. 2019-5276 

[*1]The People of The State of New York, Respondent, 
vScheron Smith, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Lorca Morello of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Franklin R. Guenthner of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ellen N. Biben, J.), rendered February 15, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 20, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








